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The following constitutes the ruling of the court and has the force and effect therein described.



Signed August 30, 2018
                                            United States Bankruptcy Judge
______________________________________________________________________
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